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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK


                                        x
   In re PAYMENT CARD INTERCHANGE       :   MDL No. 1720(MKB)(JO)
   FEE AND MERCHANT DISCOUNT            :
   ANTITRUST LITIGATION                 :   Civil No. 05-5075(MKB)(JO)
                                        :
                                        :             ORDER REGARDING
                                        :   THIRD-PARTY CLAIMS-FILING
   This Document Relates To:                SERVICES
                                        :
         ALL ACTIONS.                   :
                                        :
                                        x
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          WHEREAS since 2012, the Court has determined that certain solicitations of class members

   regarding third-party claims filing services have been misleading;

          AND WHEREAS the Court has expressed concern about additional instances of class

   member confusion;

          AND WHEREAS Rule 23(b)(3) Plaintiffs have submitted to the Court on September 18,

   2018 a Superseding and Amended Definitive Class Settlement Agreement as well as a Motion for

   Class Settlement Preliminary Approval and thus expect various third-party entities to seek new

   business relationships based on the proposed settlement;

          IT IS HEREBY ORDERED AND DECREED as follows:

          All third-party claims filing companies wishing to represent merchants are required to

   include in any solicitation to prospective clients the following to ensure that any solicitation is

   truthful and accurate the following:

          1.      A statement that claim forms are not yet available.

          2.      A statement making clear that class members need not sign up for a third-party

   service in order to participate in any monetary relief and explaining that no-cost assistance will be

   available from the Class Administrator and Class Counsel during the claims-filing period.

          3.      Information directing class members to the Court-approved website for additional

   information.

          FURTHER, the Court orders that:

          1.      The proposed relief outlined above must be included in any solicitation, in any form

   including websites, mail and email solicitations, contracts, telephone and in-person solicitations;




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          2.      Solicitations that do not contain the required information (as set forth above), may be

   deemed misleading and following notice and an opportunity to cure, those entities may be enjoined

   permanently from taking any role in the settlement; and

          3.      Class Counsel is ordered to alert all known third-party claims filing entities of the

   requirements within five days of entry of this Order.




                                           SO ORDERED:
                                           s/MKB 9/26/2018
                                           _______________________
                                           MARGO K. BRODIE
                                           United States District Judge




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